                             Case 5:22-cr-40055-TC Document 11 Filed 09/19/22 Page 1 of 1



 '1;:,,A0442     (Rev. 08/07) Warrant for Arrest
                                                             !SEALED!
                                               UNITED STATES DISTRICT COURT
                                                                     District of                            Kansas



                UNITED STATES OF AMERICA
                                                                           WARRANT FOR ARREST
                                    V.
                                                                           Case Number: 22-40055-TC
                        ROGER G OLUBKSI


 To: The United States Marshal                                              By U.S. Marshals Service at 8:25 am, Sep 15, 2022
     and any Authorized United States Officer


               YOU ARE HEREBY COMMANDED to arrest _________ R _O _G E
                                                                    _ _ R_ G_ O_LU_B_ S_K_I_______ _
                                                                                                          Name


 and bring him or her forthwith to the nearest magistrate judge to answer a(n)
SEALED
 ¢ Indictment                   0 Information           0   Complaint          0 Order of court

 O Pretrial Release            O Probation              O   Supervised Release O Violation Notice
   Violation Petition            Violation Petition         Violation

 charging him or her with (brief description of offense)
 Cts. 1 - 6 18 USC 242: Deprivation of Civil Rights




 � in violation of Title 1_8 _                                                           2_ 4
                                                                                            _ 2
                            _ ____ United States Code, Section(s)                             __________________

 0 in violation of the conditions of his or her pretrial release imposed by the court.

 0 in violation of the conditions of his or her supervision imposed by the court.
                                                                                              s/ J. Lolley, Deputy Clerk
 SKYLERB. O'HARA
                             Name or Issuing Officer                                                Signature of Issuing Officer

 Clerk of Court                                                               September 14, 2022               Topeka, Kansas
                             Title of Issuing Officer                                                   Date and Location


                                                                         RETURN
     This warrant was received and executed with the arrest of the above-named individual at

    Subject was arrested by FBI

  DATE RECEIVED                    NAME AND TITLE OF ARRESTING OFFICER             SIGNATURE OF ARRESTING OFFICER
    09.15.22
  DATE OF ARREST
   09.15.22
